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                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

                                           §
In re:                                     §   Chapter 11
                                           §
CHESAPEAKE ENERGY CORPORATION,             §   Case No. 20-33233 (DRJ)
                                           §
                    Debtor.                §
                                           §
Tax I.D. No. XX-XXXXXXX                    §
                                           §
In re:                                     §   Chapter 11
                                           §
BRAZOS VALLEY LONGHORN FINANCE             §   Case No. 20-33234 (DRJ)
CORP.,                                     §
                                           §
                    Debtor.                §
                                           §
Tax I.D. No. XX-XXXXXXX                    §
                                           §
In re:                                     §   Chapter 11
                                           §
BRAZOS VALLEY LONGHORN, L.L.C.,            §   Case No. 20-33236 (DRJ)
                                           §
                    Debtor.                §
                                           §
Tax I.D. No. XX-XXXXXXX                    §
                                           §
In re:                                     §   Chapter 11
                                           §
BURLESON SAND LLC,                         §   Case No. 20-33252 (DRJ)
                                           §
                    Debtor.                §
                                           §
Tax I.D. No. N/A                           §
                                           §
In re:                                     §   Chapter 11
                                           §
BURLESON WATER RESOURCES, LLC,             §   Case No. 20-33238 (DRJ)
                                           §
                    Debtor.                §
                                           §
Tax I.D. No. N/A                           §




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                                            §
In re:                                      §   Chapter 11
                                            §
CHESAPEAKE AEZ EXPLORATION, L.L.C.,         §   Case No. 20-33235 (DRJ)
                                            §
                    Debtor.                 §
                                            §
Tax I.D. No. XX-XXXXXXX                     §
                                            §
In re:                                      §   Chapter 11
                                            §
CHESAPEAKE APPALACHIA, L.L.C.,              §   Case No. 20-33247 (DRJ)
                                            §
                    Debtor.                 §
                                            §
Tax I.D. No. XX-XXXXXXX                     §
                                            §
In re:                                      §   Chapter 11
                                            §
CHESAPEAKE E&P HOLDING, L.L.C.,             §   Case No. 20-33237 (DRJ)
                                            §
                    Debtor.                 §
                                            §
Tax I.D. No. XX-XXXXXXX                     §
                                            §
In re:                                      §   Chapter 11
                                            §
CHESAPEAKE ENERGY LOUISIANA, LLC,           §   Case No. 20-33240 (DRJ)
                                            §
                                            §
                    Debtor.                 §
                                            §
Tax I.D. No. XX-XXXXXXX                     §
                                            §
In re:                                      §   Chapter 11
                                            §
CHESAPEAKE ENERGY MARKETING,                §   Case No. 20-33244 (DRJ)
L.L.C.,                                     §
                                            §
                    Debtor.                 §
                                            §
Tax I.D. No. XX-XXXXXXX                     §




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                                            §
In re:                                      §   Chapter 11
                                            §
CHESAPEAKE EXPLORATION, L.L.C.,             §   Case No. 20-33239 (DRJ)
                                            §
                    Debtor.                 §
                                            §
Tax I.D. No. XX-XXXXXXX                     §
                                            §
In re:                                      §   Chapter 11
                                            §
CHESAPEAKE LAND DEVELOPMENT                 §   Case No. 20-33262 (DRJ)
COMPANY, L.L.C.,                            §
                                            §
                    Debtor.                 §
                                            §
Tax I.D. No. XX-XXXXXXX                     §
                                            §
In re:                                      §   Chapter 11
                                            §
CHESAPEAKE LOUISIANA, L.P.,                 §   Case No. 20-33242 (DRJ)
                                            §
                    Debtor.                 §
                                            §
Tax I.D. No. XX-XXXXXXX                     §
                                            §
In re:                                      §   Chapter 11
                                            §
CHESAPEAKE MIDSTREAM                        §   Case No. 20-33246 (DRJ)
DEVELOPMENT, L.L.C.,                        §
                                            §
                    Debtor.                 §
                                            §
Tax I.D. No. XX-XXXXXXX                     §
                                            §
In re:                                      §   Chapter 11
                                            §
CHESAPEAKE NG VENTURES                      §   Case No. 20-33254 (DRJ)
CORPORATION,                                §
                                            §
                    Debtor.                 §
                                            §
Tax I.D. No. XX-XXXXXXX                     §




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                                            §
In re:                                      §   Chapter 11
                                            §
CHESAPEAKE OPERATING, L.L.C.,               §   Case No. 20-33249 (DRJ)
                                            §
                    Debtor.                 §
                                            §
Tax I.D. No. XX-XXXXXXX                     §
                                            §
In re:                                      §   Chapter 11
                                            §
CHESAPEAKE PLAINS, LLC,                     §   Case No. 20-33260 (DRJ)
                                            §
                    Debtor.                 §
                                            §
Tax I.D. No. XX-XXXXXXX                     §
                                            §
In re:                                      §   Chapter 11
                                            §
CHESAPEAKE ROYALTY, L.L.C.,                 §   Case No. 20-33251 (DRJ)
                                            §
                    Debtor.                 §
                                            §
Tax I.D. No. XX-XXXXXXX                     §
                                            §
In re:                                      §   Chapter 11
                                            §
CHESAPEAKE VRT, L.L.C.,                     §   Case No. 20-33241 (DRJ)
                                            §
                    Debtor.                 §
                                            §
Tax I.D. No. XX-XXXXXXX                     §
                                            §
In re:                                      §   Chapter 11
                                            §
CHESAPEAKE-CLEMENTS ACQUISITION,            §   Case No. 20-33264 (DRJ)
L.L.C.,                                     §
                                            §
                    Debtor.                 §
                                            §
Tax I.D. No. XX-XXXXXXX                     §




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                                            §
In re:                                      §   Chapter 11
                                            §
CHK ENERGY HOLDINGS, INC.,                  §   Case No. 20-33232 (DRJ)
                                            §
                     Debtor.                §
                                            §
Tax I.D. No. XX-XXXXXXX                     §
                                            §
In re:                                      §   Chapter 11
                                            §
CHK NGV LEASING COMPANY, L.L.C.,            §   Case No. 20-33248 (DRJ)
                                            §
                     Debtor.                §
                                            §
Tax I.D. No. XX-XXXXXXX                     §
                                            §
In re:                                      §   Chapter 11
                                            §
CHK UTICA, L.L.C.,                          §   Case No. 20-33250 (DRJ)
                                            §
                     Debtor.                §
                                            §
Tax I.D. No. XX-XXXXXXX                     §
                                            §
In re:                                      §   Chapter 11
                                            §
COMPASS MANUFACTURING, L.L.C.,              §   Case No. 20-33257 (DRJ)
                                            §
                     Debtor.                §
                                            §
Tax I.D. No. XX-XXXXXXX                     §
                                            §
In re:                                      §   Chapter 11
                                            §
EMLP, L.L.C.,                               §   Case No. 20-33265 (DRJ)
                                            §
                     Debtor.                §
                                            §
Tax I.D. No. XX-XXXXXXX                     §




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                                            §
In re:                                      §   Chapter 11
                                            §
EMPRESS LOUISIANA PROPERTIES, L.P.,         §   Case No. 20-33269 (DRJ)
                                            §
                    Debtor.                 §
                                            §
Tax I.D. No. XX-XXXXXXX                     §
                                            §
In re:                                      §   Chapter 11
                                            §
EMPRESS, L.L.C.,                            §   Case No. 20-33255 (DRJ)
                                            §
                    Debtor.                 §
                                            §
Tax I.D. No. XX-XXXXXXX                     §
                                            §
In re:                                      §   Chapter 11
                                            §
ESQUISTO RESOURCES II, LLC,                 §   Case No. 20-33243 (DRJ)
                                            §
                    Debtor.                 §
                                            §
Tax I.D. No. XX-XXXXXXX                     §
                                            §
In re:                                      §   Chapter 11
                                            §
GSF, L.L.C.,                                §   Case No. 20-33267 (DRJ)
                                            §
                    Debtor.                 §
                                            §
Tax I.D. No. XX-XXXXXXX                     §
                                            §
In re:                                      §   Chapter 11
                                            §
MC LOUISIANA MINERALS, L.L.C.,              §   Case No. 20-33253 (DRJ)
                                            §
                    Debtor.                 §
                                            §
Tax I.D. No. XX-XXXXXXX                     §




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                                            §
In re:                                      §   Chapter 11
                                            §
MC MINERAL COMPANY, L.L.C.,                 §   Case No. 20-33256 (DRJ)
                                            §
                    Debtor.                 §
                                            §
Tax I.D. No. XX-XXXXXXX                     §
                                            §
In re:                                      §   Chapter 11
                                            §
MIDCON COMPRESSION, L.L.C.,                 §   Case No. 20-33263 (DRJ)
                                            §
                    Debtor.                 §
                                            §
Tax I.D. No. XX-XXXXXXX                     §
                                            §
In re:                                      §   Chapter 11
                                            §
NOMAC SERVICES, L.L.C.,                     §   Case No. 20-33270 (DRJ)
                                            §
                    Debtor.                 §
                                            §
Tax I.D. No. XX-XXXXXXX                     §
                                            §
In re:                                      §   Chapter 11
                                            §
NORTHERN MICHIGAN EXPLORATORY               §   Case No. 20-33271 (DRJ)
COMPANY, L.L.C.,                            §
                                            §
                    Debtor.                 §
                                            §
Tax I.D. No. XX-XXXXXXX                     §
                                            §
In re:                                      §   Chapter 11
                                            §
PETROMAX E&P BURLESON, LLC,                 §   Case No. 20-33261 (DRJ)
                                            §
                    Debtor.                 §
                                            §
Tax I.D. No. N/A                            §




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                                            §
In re:                                      §   Chapter 11
                                            §
SPARKS DRIVE SWD, INC.,                     §   Case No. 20-33245 (DRJ)
                                            §
                    Debtor.                 §
                                            §
Tax I.D. No. XX-XXXXXXX                     §
                                            §
In re:                                      §   Chapter 11
                                            §
WHE ACQCO., LLC,                            §   Case No. 20-33268 (DRJ)
                                            §
                    Debtor.                 §
                                            §
Tax I.D. No. N/A                            §
                                            §
In re:                                      §   Chapter 11
                                            §
WHR EAGLE FORD, LLC,                        §   Case No. 20-33258 (DRJ)
                                            §
                    Debtor.                 §
                                            §
Tax I.D. No. N/A                            §
                                            §
In re:                                      §   Chapter 11
                                            §
WILDHORSE RESOURCES II, LLC,                §   Case No. 20-33259 (DRJ)
                                            §
                    Debtor.                 §
                                            §
Tax I.D. No. XX-XXXXXXX                     §
                                            §
In re:                                      §   Chapter 11
                                            §
WILDHORSE RESOURCES MANAGEMENT              §   Case No. 20-33266 (DRJ)
COMPANY, LLC,                               §
                                            §
                    Debtor.                 §
                                            §
Tax I.D. No. XX-XXXXXXX                     §




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                                                   §
In re:                                             § Chapter 11
                                                   §
WINTER MOON ENERGY CORPORATION,                    § Case No. 20-33272 (DRJ)
                                                   §
                       Debtor.                     §
                                                   §
Tax I.D. No. XX-XXXXXXX                            § (Emergency Hearing Requested)

                DEBTORS’ EMERGENCY MOTION FOR ENTRY OF AN
                ORDER (I) DIRECTING JOINT ADMINISTRATION OF
              CHAPTER 11 CASES AND (II) GRANTING RELATED RELIEF

         EMERGENCY RELIEF HAS BEEN REQUESTED. A HEARING WILL BE CONDUCTED ON
         THIS MATTER ON JUNE 29, 2020, AT 2:30 P.M. (CENTRAL TIME) IN COURTROOM 400, 4TH
         FLOOR, 515 RUSK STREET, HOUSTON, TEXAS 77002. IF YOU OBJECT TO THE RELIEF
         REQUESTED OR YOU BELIEVE THAT EMERGENCY CONSIDERATION IS NOT
         WARRANTED, YOU MUST EITHER APPEAR AT THE HEARING OR FILE A WRITTEN
         RESPONSE PRIOR TO THE HEARING. OTHERWISE, THE COURT MAY TREAT THE
         PLEADING    AS    UNOPPOSED       AND      GRANT    THE    RELIEF   REQUESTED.

         RELIEF IS REQUESTED NOT LATER THAN JUNE 29, 2020.

         PLEASE NOTE THAT ON MARCH 24, 2020, THROUGH THE ENTRY OF GENERAL ORDER
         2020-10, THE COURT INVOKED THE PROTOCOL FOR EMERGENCY PUBLIC HEALTH OR
         SAFETY CONDITIONS.
         IT IS ANTICIPATED THAT ALL PERSONS WILL APPEAR TELEPHONICALLY AND ALSO
         MAY APPEAR VIA VIDEO AT THIS HEARING.
         AUDIO COMMUNICATION WILL BE BY USE OF THE COURT’S REGULAR DIAL-IN
         NUMBER. THE DIAL-IN NUMBER IS +1(832) 917-1510. YOU WILL BE RESPONSIBLE FOR
         YOUR OWN LONG-DISTANCE CHARGES. YOU WILL BE ASKED TO KEY IN THE
         CONFERENCE ROOM NUMBER. JUDGE JONES’ CONFERENCE ROOM NUMBER IS 205691.
         PARTIES MAY PARTICIPATE IN ELECTRONIC HEARINGS BY USE OF AN INTERNET
         CONNECTION. THE INTERNET SITE IS WWW.JOIN.ME. PERSONS CONNECTING BY
         MOBILE DEVICE WILL NEED TO DOWNLOAD THE FREE JOIN.ME APPLICATION.
         ONCE CONNECTED TO WWW.JOIN.ME, A PARTICIPANT MUST SELECT “JOIN A
         MEETING.” THE CODE FOR JOINING THIS HEARING BEFORE JUDGE JONES IS
         “JUDGEJONES”. THE NEXT SCREEN WILL HAVE A PLACE FOR THE PARTICIPANT’S
         NAME IN THE LOWER LEFT CORNER. PLEASE COMPLETE THE NAME AND CLICK
         “NOTIFY.”
         HEARING APPEARANCES SHOULD BE MADE ELECTRONICALLY AND IN ADVANCE OF
         THE HEARING. YOU MAY MAKE YOUR ELECTRONIC APPEARANCE BY:
         1) GOING TO THE SOUTHERN DISTRICT OF TEXAS WEBSITE;
         2) SELECTING “BANKRUPTCY COURT” FROM THE TOP MENU;
         3) SELECTING “JUDGES’ PROCEDURES & SCHEDULES;”
         4) SELECTING “VIEW HOME PAGE” FOR CHIEF JUDGE DAVID R. JONES;
         5) UNDER “ELECTRONIC APPEARANCE” SELECT “CLICK HERE TO SUBMIT ELECTRONIC
         APPEARANCE;”
         6) SELECT CHESAPEAKE ENERGY CORPORATION, ET AL. FROM THE LIST OF
         ELECTRONIC APPEARANCE LINKS; AND
         7) COMPLETE THE REQUIRED FIELDS AND HIT THE “SUBMIT” BUTTON AT THE BOTTOM
         OF THE PAGE.




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         SUBMITTING YOUR APPEARANCE ELECTRONICALLY IN ADVANCE OF THE HEARING
         WILL NEGATE THE NEED TO MAKE AN APPEARANCE ON THE RECORD AT THE
         HEARING.


         The above-captioned debtors and debtors in possession (collectively, the “Debtors”)1

state the following in support of this motion:

                                              Relief Requested

         1.      The Debtors seek entry of an order, substantially in the form attached hereto

(the “Order”): (a) directing procedural consolidation and joint administration of these chapter 11

cases, and (b) granting related relief. The Debtors request that one file and one docket be

maintained for all of the jointly-administered cases under the case of Chesapeake Energy

Corporation and that the cases be administered under a consolidated caption, as follows:

                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

                                                                   §
In re:                                                             §     Chapter 11
                                                                   §
CHESAPEAKE ENERGY CORPORATION, et al.,1                            §     Case No. 20-33233 (DRJ)
                                                                   §
                          Debtors.                                 §     (Jointly Administered)
                                                                   §
1
    A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
    proposed claims and noticing agent at https://dm.epiq11.com/chesapeake. The location of Debtor Chesapeake
    Energy Corporation’s principal place of business and the Debtors’ service address in these chapter 11 cases is
    6100 North Western Avenue, Oklahoma City, Oklahoma 73118.

         2.      The Debtors further request that this Court order that the foregoing caption

satisfies the requirements set forth in section 342(c)(1) of the Bankruptcy Code.



1
    A detailed description of the Debtors and their businesses, and the facts and circumstances supporting this
    motion and the Debtors’ chapter 11 cases, are set forth in greater detail in the Declaration of Domenic J.
    Dell’Osso, Jr., Executive Vice President and Chief Financial Officer of Chesapeake Energy Corporation in
    Support of Chapter 11 Petitions and First Day Motions (the “First Day Declaration”), filed contemporaneously
    with the Debtors’ voluntary petitions for relief filed under chapter 11 of title 11 of the United States Code
    (the “Bankruptcy Code”), on June 28, 2020 (the “Petition Date”).

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       3.      The Debtors also request that a docket entry, substantially similar to the

following, be entered on the docket of each of the Debtors, other than Chesapeake Energy

Corporation, to reflect the joint administration of these chapter 11 cases:

               An order has been entered in accordance with Rule 1015(b) of the
               Federal Rules of Bankruptcy Procedure and Rule 1015-1 of the
               Local Rules of Bankruptcy Practice and Procedure of the United
               States Bankruptcy Court for the Southern District of Texas
               directing joint administration for procedural purposes only of the
               chapter 11 cases of:           Chesapeake Energy Corporation,
               Case No. 20-33233; Brazos Valley Longhorn Finance Corp.,
               Case No. 20-33234; Brazos Valley Longhorn, L.L.C,
               Case No. 20-33236; Burleson Sand LLC, Case No. 20-33252;
               Burleson Water Resources, LLC, Case No. 20-33238; Chesapeake
               AEZ Exploration, L.L.C., Case No. 20-33235; Chesapeake
               Appalachia, L.L.C., Case No. 20-33247; Chesapeake E&P
               Holding, L.L.C., Case No. 20-33237; Chesapeake Energy
               Louisiana, LLC, Case No. 20-33240; Chesapeake Energy
               Marketing, L.L.C., Case No. 20-33244; Chesapeake Exploration,
               L.L.C., Case No. 20-33239; Chesapeake Land Development
               Company, L.L.C., Case No. 20-33262; Chesapeake Louisiana,
               L.P., Case No. 20-33242; Chesapeake Midstream Development,
               L.L.C.,    Case No. 20-33246;      Chesapeake      NG      Ventures
               Corporation, Case No. 20-33254; Chesapeake Operating, L.L.C.,
               Case No. 20-33249; Chesapeake Plains, LLC, Case No. 20-33260;
               Chesapeake Royalty, L.L.C., Case No. 20-33251; Chesapeake
               VRT,      L.L.C.,    Case No. 20-33241;      Chesapeake-Clements
               Acquisition, L.L.C., Case No. 20-33264; CHK Energy Holdings,
               Inc., Case No. 20-33232; CHK NGV Leasing Company, L.L.C.,
               Case No. 20-33248; CHK Utica, L.L.C., Case No. 20-33250;
               Compass Manufacturing, L.L.C., Case No. 20-33257; EMLP,
               L.L.C., Case No. 20-33265; Empress Louisiana Properties, L.P.,
               Case No. 20-33269; Empress, L.L.C., Case No. 20-33255;
               Esquisto Resources II, LLC, Case No. 20-33243; GSF, L.L.C.,
               Case No. 20-33267;      MC       Louisiana    Minerals,     L.L.C.,
               Case No. 20-33253;       MC      Mineral     Company,       L.L.C.,
               Case No. 20-33256;        MidCon         Compression,       L.L.C.,
               Case No. 20-33263; Nomac Services, L.L.C., Case No. 20-33270;
               Northern      Michigan       Exploratory     Company,       L.L.C.,
               Case No. 20-33271;       Petromax      E&P      Burleson,     LLC,
               Case No. 20-33261; Sparks Drive SWD, Inc., Case No. 20-33245;
               WHE AcqCo., LLC, Case No. 20-33268 WHR Eagle Ford LLC,
               Case No. 20-33258;       WildHorse       Resources     II,    LLC,
               Case No. 20-33259; WildHorse Resources Management Company,
               LLC, Case No. 20-33266; and Winter Moon Energy Corporation,
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               Case No. 20-33272. The docket in Case No. 20-33233 (DRJ)
               should be consulted for all matters affecting this case. All further
               pleadings and other papers shall be filed in and all further
               docket entries shall be made in Case No. 20-33233 (DRJ).

                                     Jurisdiction and Venue

       4.      The United States Bankruptcy Court for the Southern District of Texas

(the “Court”) has jurisdiction over this matter pursuant to 28 U.S.C. § 1334. This matter is a

core proceeding within the meaning of 28 U.S.C. § 157(b). The Debtors confirm their consent,

pursuant to rule 7008 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), to

the entry of a final order by the Court in connection with this motion to the extent that it is later

determined that the Court, absent consent of the parties, cannot enter final orders or judgments in

connection herewith consistent with Article III of the United States Constitution.

       5.      Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

       6.      The statutory bases for the relief requested herein are sections 105(a) and 342(c)

of title 11 of the Bankruptcy Code, Bankruptcy Rules 1015(b) and 6003, and rules 1015-1 and

9013-1 of the Bankruptcy Local Rules for the Southern District of Texas (the “Bankruptcy Local

Rules”).

                                          Basis for Relief

       7.      Bankruptcy Rule 1015(b) provides, in pertinent part, that “[i]f . . . two or more

petitions are pending in the same court by or against . . . (2) a partnership and one or more of its

general partners, or (3) two or more general partners, or (4) a debtor and an affiliate, the court

may order a joint administration of the estates.” Fed. R. Bankr. P. 1015. The Debtor entities that

commenced chapter 11 cases are “affiliates” as that term is defined in section 101(2) of the

Bankruptcy Code. Accordingly, the Bankruptcy Code and Bankruptcy Rules authorize the Court




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to grant the relief requested herein. Bankruptcy Local Rule 1015-1 further provides for the joint

administration of related chapter 11 cases.

        8.      Joint administration of these chapter 11 cases will provide significant

administrative convenience without harming the substantive rights of any party in interest. Many

of the motions, hearings, and orders in these chapter 11 cases will affect each Debtor entity. The

entry of an order directing joint administration of these chapter 11 cases will reduce fees and

costs by avoiding duplicative filings and objections. Joint administration also will allow the

United States Trustee for the Southern District of Texas and all parties in interest to monitor

these chapter 11 cases with greater ease and efficiency.

        9.      Moreover, joint administration will not adversely affect the Debtors’ respective

constituencies because this motion seeks only administrative, not substantive, consolidation of

the Debtors’ estates. Parties in interest will not be harmed by the relief requested, but instead

will benefit from the cost reductions associated with the joint administration of these chapter 11

cases. Joint administration of these chapter 11 cases is in the best interests of their estates, their

creditors, and all other parties in interest.

                                      Emergency Consideration

        10.     Pursuant to Bankruptcy Rule 6003, which empowers a court to grant relief within

the first 21 days of the commencement of a chapter 11 case “to the extent that relief is necessary

to avoid immediate and irreparable harm” and Bankruptcy Local Rule 9013-1(i), the Debtors

request emergency consideration of this motion. The motion requests relief from procedural

rules and requirements that pertain to matters of immediate significance or which involve

deadlines sooner than 21 days after the Petition Date. The relief will save costs and avoid undue

administrative burden and confusion only if granted before the applicable deadlines.             The

Debtors have satisfied the “immediate and irreparable harm” standard of Bankruptcy Rule 6003
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and, therefore, request that the Court approve the relief requested in this motion on an emergency

basis.

                                              Notice

         11.   The Debtors will provide notice of this motion to: (a) the United States Trustee

for the Southern District of Texas; (b) the holders of the 50 largest unsecured claims against the

Debtors (on a consolidated basis); (c) the administrative agent under the Debtors’ proposed

debtor-in-possession credit facility and counsel thereto; (d) the administrative agent under the

Debtors’ prepetition revolving credit facility and counsel thereto; (e) the administrative agent for

the Debtors’ prepetition term loan facility and counsel thereto; (f) the indenture trustee for the

Debtors’ senior secured second lien notes and counsel thereto; (g) the indenture trustees for the

Debtors’ unsecured notes; (h) counsel to the ad hoc group of term loan lenders; (i) counsel to

Franklin Advisers, Inc., as investment manager on behalf of certain funds and accounts; (j) the

United States Attorney’s Office for the Southern District of Texas; (k) the Internal Revenue

Service; (l) the United States Securities and Exchange Commission; (m) the Environmental

Protection Agency and similar state environmental agencies for states in which the Debtors

conduct business; and (n) the state attorneys general for states in which the Debtors conduct

business. The Debtors submit that, in light of the nature of the relief requested, no other or

further notice need be given.


                           [Remainder of page intentionally left blank.]




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       WHEREFORE, the Debtors request that the Court enter the Order, granting the relief

requested herein and such other relief as the Court deems appropriate under the circumstances.

Houston, Texas
June 28, 2020

/s/ Mathew D. Cavenaugh
JACKSON WALKER L.L.P.                            KIRKLAND & ELLIS LLP
Matthew D. Cavenaugh (TX Bar No. 24062656)       KIRKLAND & ELLIS INTERNATIONAL LLP
Jennifer F. Wertz (TX Bar No. 24072822)          Patrick J. Nash, Jr., P.C. (pro hac vice pending)
Kristhy M. Peguero (TX Bar No. 24102776)         Marc Kieselstein, P.C. (pro hac vice pending)
Veronica A. Polnick (TX Bar No. 24079148)        Alexandra Schwarzman (pro hac vice pending)
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Houston, Texas 77010                             Chicago, Illinois 60654
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Proposed Co-Counsel to the Debtors               Proposed Co-Counsel to the Debtors
and Debtors in Possession                        and Debtors in Possession
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                                     Certificate of Accuracy

        I certify that the foregoing statements are true and accurate to the best of my knowledge.
This statement is being made pursuant to Local Rule 9013-1(i).

                                                      /s/ Matthew D. Cavenaugh
                                                      Matthew D. Cavenaugh




                                     Certificate of Service

        I certify that on June 28, 2020, I caused a copy of the foregoing document to be served by
the Electronic Case Filing System for the United States Bankruptcy Court for the Southern
District of Texas.

                                                      /s/ Mathew D. Cavenaugh
                                                      Mathew D. Cavenaugh
